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     Telephone: (916) 444-3994
 4
     Attorney for Defendant
 5   RICARDO VENEGAS

 6

 7                   IN THE UNITED STATES DISTRICT COURT

 8                 FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,     )         CR NO. S-06-0441 GEB
                                   )
11             Plaintiff,          )         STIPULATION AND
                                   )         [PROPOSED] ORDER CONTINUING
12        v.                       )         STATUS CONFERENCE
                                   )
13   EFRAIN MEDINA, et al,         )
                                   )         Date:    9/26/08
14             Defendants.         )         Time:    9:00 a.m.
                                   )         Judge:   Hon. Garland E.
15   ______________________________)                  Burrell, Jr.

16
          IT IS HEREBY stipulated between the United States of America
17
     through its undersigned counsel, Jill M. Thomas, Assistant United
18
     States Attorney, together with counsel for defendant Ricardo
19
     Venegas, John R. Manning Esq., counsel for defendant Wendell
20
     Stewart, Daniel M. Davis, Esq., counsel for defendant Valerie
21
     White, William E. Bonham, Esq., counsel for defendant Pablo
22
     Farias-Segura, Jessie J. Garcia, Esq., counsel for defendant
23
     Arturo Farias-Segura, Diana L. Weiss, Esq., and counsel for
24
     defendant Isauro Jauregui Catalan, J Toney, Esq., that the status
25
     conference presently set for September 26, 2008 be continued to
26
     November 14, 2008, at 9:00 a.m., thus vacating the presently set
27
     status conference.
28
                                         1
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 1        Counsel for the parties agree that this is an appropriate

 2   exclusion of time within the meaning of Title 18, United States

 3   Code § 3161(h)(8)(B)(iv) (continuity of counsel/ reasonable time

 4   for effective preparation, specifically the requested continuance

 5   is based upon more time needed to review discovery) and Local

 6   Code T4, and agree to exclude time from the date of the filing of

 7   the order until the date of the status conference, November 14,

 8   2008.

 9   IT IS SO STIPULATED.

10   Dated: September 24, 2008                    /s/ John R. Manning
                                                 JOHN R. MANNING
11                                               Attorney for Defendant
                                                 Ricardo Venegas
12
     Dated: September 24, 2008                    /s/ Daniel M. Davis
13                                               DANIEL M. DAVIS
                                                 Attorney for Defendant
14                                               Wendell Stewart

15   Dated: September 24, 2008                    /s/ William E. Bonham
                                                 WILLIAM E. BONHAM
16                                               Attorney for Defendant
                                                 Valerie White
17
     Dated: September 24, 2008                    /s/ Jesse J. Garcia
18                                               JESSE J. GARCIA
                                                 Attorney for Defendant
19                                               Pablo Farias-Segura

20   Dated: September 24, 2008                    /s/ Diana L. Weiss
                                                 DIANA L. WEISS
21                                               Attorney for Defendant
                                                 Arturo Farias-Segura
22
     Dated: September 24, 2008                    /s/ J Toney
23                                               J TONEY
                                                 Attorney for Defendant
24                                               Isauro Jauregui Catalan

25   Dated: September 24, 2008                   McGREGOR W. SCOTT
                                                 United States Attorney
26

27                                         by:     /s/Jill M. Thomas
                                                 JILL M. THOMAS
28                                               Assistant U.S. Attorney
                                           2
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 1                      IN THE UNITED STATES DISTRICT COURT

 2                    FOR THE EASTERN DISTRICT OF CALIFORNIA

 3

 4   UNITED STATES OF AMERICA,              ) Case No. CR.S-06-0441-GEB
                                            )
 5                      Plaintiff,          )
                                            )
 6        v.                                ) [PROPOSED] ORDER TO
                                            ) CONTINUE STATUS CONFERENCE
 7   EFRAIN MEDINA, et al.,                 )
                                            )
 8                                          )
                    Defendants.             )
 9   _______________________________

10
          GOOD CAUSE APPEARING, it is hereby ordered that the
11
     September 26, 2008 status conference be continued to November 14,
12
     2008 at 9:00 a.m.       I find that the ends of justice warrant an
13
     exclusion of time and that the defendant’s need for continuity of
14
     counsel and reasonable time for effective preparation exceeds the
15
     public interest in a trial within 70 days.           THEREFORE IT IS
16
     FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. §
17
     3161(h)(8)(B)(iv) and Local Code T4 from the date of this order
18
     to November 14, 2008.
19

20
     IT IS SO ORDERED.
21
     Dated:     September 25, 2008
22

23
                                       GARLAND E. BURRELL, JR.
24                                     United States District Judge
25

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